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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re:

NEW ENGLAND COMPOUNDING

PHARMACY, INC. PRODUCTS LIABILITY
LITIGATION MDL No. 1:13-md-2419-RWZ

This Document Relates to:
All Cases

CERTIFICATE OF COMPLIANCE
WITH BANKRUPTCY COURT DIRECTION
AS TO CREDITOR DARREL CUMMINGS

The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

Chapter 11 case (the “Chapter 11 Case”) of New England Compounding Pharmacy, Inc., by

and through its undersigned counsel, hereby gives notice of its compliance with the direction
of the Honorable Henry J. Boroff of the United States Bankruptcy Court for the District of
Massachusetts.

Judge Boroff is presiding over the Chapter 11 Case. During the proceedings held on
May 30, 2014 in the Chapter 11 Case, Judge Boroff directed counsel to the Committee to
provide Mr. Darrel Cummings with the mailing address and telephone number of this Court’s
chambers. On June 5, 2014, counsel to the Committee mailed the letter attached hereto as

Exhibit A to Mr. Cummings to provide him with that information.

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Dated: June 5, 2014 Respectfully submitted,
Boston, Massachusetts

BROWN RUDNICK LLP

By: /s/ William R. Baldiga

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Counsel to the Official Committee of Unsecured
Creditors of New England Compounding
Pharmacy, Inc.
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CERTIFICATE OF SERVICE

I hereby certify that on June 5, 2014, I caused a copy of the foregoing Certificate of
Compliance to be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants, by first class mail, postage prepaid.

Dated: June 5, 2014
Boston, Massachusetts /s/ Carol §. Ennis
Carol S. Ennis

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EXHIBIT A
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SBOWRRUDNICK

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Darrel Cummings DC# 088532
South Bay Correctional Facility
P.O. Box 7171

South Bay, FL 33493

RE: Massachusetts District Court Contact Information

Dear Mr. Cummings,
As you know, our firm represents the Official Committee of Unsecured Creditors of New England
Compounding Center (“NECC”). As per your request and Judge Boroff’s direction at the hearing held May
30, 2014, below is the mailing address and telephone number for the chambers of Judge Rya Zobel of the
United States District Court for the District of Massachusetts. Judge Zobel is presiding over NECC’s multi-
district litigation proceedings.

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300
Boston, MA 02210

Telephone: (617) 748-9152
Judge Zobel’s clerk is Ms. Lisa Urso.
Please do not hesitate to contact me with any questions.

Sincerely,

BROWN RUDNICK LLP

Kiersten A. Taylor

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Brown Rudnick LLP Boston Dublin | Hartford London | New York | Orange County | Providence | Washington DC
